       Case 1:20-cv-00947-JCH-CG Document 25 Filed 12/31/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


SENTRY INSURANCE A MUTUAL COMPANY,

       Plaintiff,

v.                                                              CV No. 20-947 JCH/CG

DIEGO PICHARDO, et al.,

       Defendants.

              ORDER GRANTING JOINT MOTION TO STAY DISCOVERY

       THIS MATTER is before the Court on the parties’ Joint Motion for a Limited Stay

of Proceedings (the “Motion), (Doc. 18), filed December 17, 2020. In the Motion, the

parties request the Court “stay discovery in this matter until further order of the Court.”

(Doc. 18 at 1). However, the parties seek a stay for different reasons, and, accordingly,

upon the occurrence of different events. Id. Defendant asks the Court to stay discovery

until the Court has ruled on his Motion to Dismiss or Abstain, (Doc. 12), or his Motion to

Strike or in the Alternative Stay Sentry’s Motion for Summary Judgment, (Doc. 17).

(Doc. 18 at 1-2). Plaintiff asks the Court to stay discovery until the Court has ruled on

Plaintiff’s Motion for Summary Judgment, (Doc. 14). (Doc. 18 at 2). The Court, having

considered the Motion, conferred with counsel at a telephonic status conference on

December 30, 2020, and noting the Motion is filed jointly, finds the Motion is well-taken

and shall be GRANTED.

       IT IS THEREFORE ORDERED that discovery in this matter is stayed pending

resolution of the dispositive motions pending before the presiding judge.
Case 1:20-cv-00947-JCH-CG Document 25 Filed 12/31/20 Page 2 of 2




IT IS SO ORDERED.


                       _______________________________
                       THE HONORABLE CARMEN E. GARZA
                       CHIEF UNITED STATES MAGISTRATE JUDGE
